         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-3004
                 LT Case No. 2019-CF-000509-A
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TEVIN ROBERTS,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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3.850 Appeal from the Circuit Court for Lake County.
Don. F. Briggs, Judge.

Tevin Roberts, Daytona Beach, pro se.

Ashley Moody, Attorney General, Tallahassee, and Bonnie Jean
Parrish, Assistant Attorney General, Daytona Beach, for
Appellee.

                        August 20, 2024

PER CURIAM.

    AFFIRMED.

MAKAR, JAY, and SOUD, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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